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                   Exhibit 1
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   ECWUCVKQPUVCPFCTFVJCVVJCVUVCVGOGPVKUPQVOCFGKP

   KUQNCVKQPYKVJTGURGEVVQIGPGTCNECWUCVKQP

        #PF+YQPFGT[QWMPQYQDXKQWUN[YGFQP VPGGFVQUQTV

   QHTGCEJCHKPCNOGGVKPIQHVJGOKPFUQTYGFQP VJCXGVQJCXG

   CHKPCNCITGGOGPVVQFKUCITGGQPVJKUSWGUVKQPTKIJVPQYDWV+

   FQP VWPFGTUVCPF+OGCPKHVJGSWGUVKQPCVVJGIGPGTCN

   ECWUCVKQPRJCUGKUKUVJKUUWDUVCPEGECRCDNGQHECWUKPI

   ECPEGTVJGPJQYKUVJCVFKHHGTGPVHTQOVJGSWGUVKQPVJCV+#4%

   KUCUMKPI!

            /4.#5-'41MC[;QWT*QPQT9GCEVWCNN[+YGPV

   DCEMCPFNQQMGFCVVJG4QDGTVUQRKPKQPCHVGTQWTEQPXGTUCVKQP

   VQOCMGUWTGYGYGTGWPFGTUVCPFKPIYJCV[QWTSWGUVKQPYCU#PF

   +CEVWCNN[CNUQRWNNGFQWVCECUGHTQOVJG0QTVJGTP&KUVTKEVQH

   %CNKHQTPKCVJCVCFFTGUUGUVJKUGZCEVKUUWGYJKEJKUVJG

   SWGUVKQPQHJQYFQGUFQUGCRRN[KPEQPPGEVKQPYKVJIGPGTCN

   ECWUCVKQP!$GECWUGFQUGCPFCEVWCNN[VJGGZRQUWTGNGXGN

   CPF;QWT*QPQTCEVWCNN[JKVWRQPCXGT[MG[RQKPVJGTGKV

   UQTVQHUVTCFFNGUURGEKHKEKVJCUFKHHGTGPVOGCPKPIUYKVJ

   TGURGEVVQIGPGTCNCPFURGEKHKEECWUCVKQP#PFKPVJG+P4G

   $GZVTCQRKPKQPCPFVJCVKU(5WRRF

            6*'%1746+P4GYJCV!

            /4.#5-'4+PTG$GZVTC+ OUQTT[$':64#

   #PFVJCVKUCECUGVJCVYCUEKVGFD[VJKU%QWTVKPCPF

   VJCV UCV(5WRRF#PFVJGSWGUVKQPVJCVVJG%QWTV

   YCURQUGFYKVJKUCEVWCNN[YCU/&.CPFVJGTGYGTGIGPGTCN
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   ECWUCVKQP&CWDGTVDTKGHUDGHQTGVJG%QWTV#PFQPGQHVJG

   KUUWGUVJCVYCURQUGFVJCVVJG%QWTVCFFTGUUGFCPFVJKUKU

   CVRCIG#VJTGUJQNFSWGUVKQPTCKUGFD[2HK\GT UOQVKQP

   KUYJGVJGTCRCTVKEWNCTFQUGQH%GNGDTGZKUTGNGXCPVVQVJG

   IGPGTCNECWUCVKQPKPSWKT[

        5Q+VJKPMKV UXGT[UKOKNCTVQYJCV;QWT*QPQTYCU

   RTQDKPIQP(TKFC[

        #PFYJGPVJG%QWTVGZRNCKPGFYJCVVJG%QWTVJGNFYCU

   [GUFQUGFQGUOCVVGTVQIGPGTCNECWUCVKQPDGECWUGVJG
     [GUFQUGFQGUOCVVGTVQIGPGTCNECWUCVKQPDGECWUGVJG

   SWGUVKQPKPIGPGTCNECWUCVKQPKUECPCUWDUVCPEGECWUGC

   FKUGCUGCVCTGCNYQTNFFQUGQTCVCFQUGVJCVYGCTGEQPEGTPGF

   CDQWV#PFYJCVVJG%QWTVJGNFCPFVJKUKUUQOGVJKPIVJCV
     CDQWV

   YCUKP,WFIG4QDGTVU QRKPKQPKV UVJG+P4G$GZVTCQRKPKQP

   CPFHTCPMN[KV UKPECUGUKPGXGT[EKTEWKV#PF+ XG

   CEVWCNN[NQQMGFCVVJKUKUUWG'XGT[EKTEWKVJCUVJGUCOG

   UVCPFCTFYJKEJKUVJCVYJGP[QW TGVCNMKPICDQWVIGPGTCN

   ECWUCVKQPCPFURGEKHKEECWUCVKQPCPF[QW TGVJKPMKPICDQWV

   FQUGVJGIGPGTCNECWUCVKQPSWGUVKQPKUKUVJGNGXGNQH

   GZRQUWTGVJCVKUCVKUUWGIGPGTCNN[KPVJKUECUGKUVJCV

   ECRCDNGQHECWUKPICPCFXGTUGGXGPV!+V UPQVKUCEJGOKECN

   ECRCDNGQHECWUKPIYJCVGXGTVJGFKUGCUGKUKVKUKUCP

   GZRQUWTGECRCDNGQHECWUKPICFKUGCUG

            6*'%17469GNNVJCV UMKPFQHYJCV+YCUCUMKPIQP

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